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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION


  UNITED STATES OF AMERICA,                   )
                                              )
  Plaintiff/Respondent,                       )
                                              )
  vs.                                         )   NO. 2:09-cr-43
                                              )       2:11-cv-307
  HANEEF JACKSON-BEY,                         )
                                              )
  Defendant/Petitioner.                       )


                            OPINION AND ORDER
         This matter is before the Court on the: (1) Motion Under 28

  U.S.C. Section 2255 To Vacate, Set Aside, Or Correct Sentence By a

  Person in Federal Custody, filed by Petitioner, Haneef Jackson-Bey,

  on August 23, 2011 (DE #402).     For the reasons set forth below, the

  section 2255 motion is DENIED.          The Clerk is ORDERED to DISMISS

  this   case   WITH   PREJUDICE.       The   Clerk   is   FURTHER     ORDERED    to

  distribute a copy of this order to Haneef Jackson-Bey, #206738,

  Miami Correctional Facility-BH/IN, 3038 West 850 South, Bunker

  Hill, IN 46914-9810, or to such other more current address that may

  be on file for the Petitioner.



  BACKGROUND

         On July 2, 2009, a superseding indictment was filed against

  Defendant, Haneef Jackson-Bey, and four other defendants.                      (DE
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  #35.)    Count 1 alleged a conspiracy under 18 U.S.C. § 371 to commit

  violations of 18 U.S.C. Sections 2, 1591(a)(1) and (b)(2), 2421,

  and 2423(a).    Jackson-Bey was also charged in Count 16, with 2 co-

  defendants, for recruiting, enticing, harboring, transporting,

  providing and obtaining by any means L.G., an adult, knowing that

  force, fraud and coercion would be used to cause her to engage in

  a commercial sex act, in violation of 18 U.S.C. §§ 2, 1591(a)(1)

  and (b)(1).

          The week before the trial setting in this case, Defendant had

  a change of plea hearing on October 30, 2009.         However, during the

  hearing, Defendant stated he would not honor the agreement to

  cooperate with the Government (contained in the plea agreement), so

  the Court denied Defendant’s plea.        (DE #166, see DE #386, pp. 24-

  26.)    The next week, Defendant contracted MRSA, and on November 3,

  2009, counsel filed an emergency motion to sever Jackson-Bey from

  the trial of his co-defendants.            (DE #177.)       The trial was

  continued until November 9, 2009, and Jackson-Bey’s motion to sever

  was granted.      Co-Defendants, Justin Cephus, Jovon Stewart, and

  Stanton Cephus, were later convicted by a jury on all counts in the

  superseding indictment.     (DE #203.)

          On February 25, 2010, Jackson-Bey signed a new plea agreement

  with the Government.      (DE #273.)      In it, Jackson-Bey agreed to

  plead guilty to Count 16 of the superseding indictment, and the

  Government agreed to move to dismiss Count 1 at the time of the


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  sentencing.      Id., ¶¶ 7(a) and 7(c)(ii).               The Government and

  Defendant    agreed   in   the   plea       that   a   sentence    of      15   years

  incarceration, which represented the mandatory minimum sentence

  that Defendant could receive for his conviction in Count 16, “is an

  appropriate sentence based upon my conduct in this case.”                       Id., ¶

  7(c)(iii).     Additionally, they agreed that if Defendant continued

  to accept responsibility for his criminal conduct, he should

  receive a two point, and if eligible, and additional one point

  reduction in his Guideline offense level.                Id., ¶ 7(c)(I).            In

  exchange for these benefits, the plea agreement contained the

  following wavier:

               I understand that the law gives a convicted person
               the right to appeal the conviction and the sentence
               imposed; I also understand that no one can predict
               the precise sentence that will be imposed, and that
               the Court has jurisdiction and authority to impose
               any sentence within the statutory maximum set for
               my offense(s) as set forth in this plea agreement;
               with this understanding and in consideration of the
               government’s entry into this plea agreement, I
               expressly waive my right to appeal or to contest my
               conviction and my sentence imposed or the manner in
               which my conviction or my sentence was determined
               or imposed, to any Court on any ground, including
               any claim of ineffective assistance of counsel
               unless the claimed ineffective assistance of
               counsel relates directly to this waiver or its
               negotiation, including any appeal under Title 18,
               Unites States Code, Section 3742 or any post-
               conviction proceeding, including but not limited
               to, a proceeding under Title 28, Unites States
               Code, Section 2255.

  Id., ¶ 7(e).


        Further, the plea also stated that “[e]ach of the parties

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  reserve the right to argue if the sentence imposed upon me in this

  cause shall be served either concurrent or consecutive, to any

  other state or federal term of incarceration.”                    Id., ¶ 7(c)(v).

  Finally, Defendant agreed that his attorney had “done all that

  anyone could do to counsel and assist me,” that he was offering his

  guilty plea “freely and voluntarily and of [his] own accord,” that

  “no promises [had] been made to [him] other than those contained in

  [the] agreement,” and that he had not been “threatened in any way

  by anyone to cause [him] to plead guilty in accordance with [the]

  agreement.”      Id., ¶¶ 9, 10.

         Jackson-Bey’s final change of plea hearing was held on March

  19, 2010.       (See transcript, DE #384.)          When asked whether he was

  “fully satisfied with the counsel, representation, and advice given

  to you in this case by . . . your attorney?” Jackson-Bey replied

  “yes.” (DE #384, p. 12.) After Jackson-Bey read through paragraph

  7 of his plea agreement, the Court asked him whether he read it

  previously, understood it, agreed with it, and was asking the Court

  to    approve    it.     Jackson-Bey    answered      yes    to   each       of   these

  questions.      (Id., pp. 12-13.)      Jackson-Bey acknowledged repeatedly

  that he agreed with the individual and collective terms of the plea

  agreement, and confirmed that he wanted to plead guilty under the

  agreement.      (Id., pp. 13-47.)      The Court informed Jackson-Bey that

  for    Count    16,    “the   most   that    you   could    get   would      be   life

  imprisonment, a fine of up to $250,000, or a combination of both of


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  those,   up     to    life   supervised       release,    and   a   $100     special

  assessment,” and Defendant answered that he understood.                     (Id., p.

  17; see also p. 28.)          Additionally, the Court advised Defendant

  that “[t]he least you could get would be 15 years in jail, no fine,

  five years of supervised release, and a special assessment,” and

  Defendant indicated that he understood.               (Id., p. 17.)

        During       the   hearing,   this      Court   questioned       Jackson-Bey

  extensively about his voluntary waiver of his right to appeal,

  including the following excerpts from that colloquy:

                Q:     Subparagraph (e) talks about appeals, Mr.
                        Jackson-Bey.   Do you understand that in all
                        criminal cases a defendant has a right to
                        appeal any conviction or sentence that he may
                        receive?

                A: Yes.

                Q: In this case, you have agreed that I have the
                     jurisdiction and authority to sentence you up
                     to the maximum provided for by the statute; do
                     you understand that?

                A: Yes.

                Q: And do you recall you and I talked about that
                     before? That’s when I told you that you are
                     facing up to life imprisonment, a fine of up
                     to $250,000, or a combination of both of
                     those, up to life supervised release, and a
                     $100 special assessment, do you understand?

                A: Yes.

                Q: What you’re basically doing in this paragraph,
                     Mr. Jackson-Bey, is that you’re giving up all
                     of your rights to an appeal; do you understand
                     that?

                A: Yes.

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             Q: That includes the manner in which you were found
                  guilty or any sentence that you may receive;
                  do you understand that?

             A: Yes.

             Q: So down the road you won’t be able to tell Mr.
                  Bosch that you want to appeal your sentence
                  because you thought it was too high, or you
                  want to appeal some of the rulings that I have
                  made because you don’t like them; do you
                  understand that?

             A: Yes.

             Q: For all intents and purposes, it’s all of your
                  rights to an appeal. There’s a few that you
                  keep, like jurisdiction, but almost all of the
                  other ones you waive; do you understand that?

             A: Yes.

             Q: Do you understand that the government is not
                  giving up any of their rights to an appeal?

             A: Yes.

             Q: Are you sure this is what you want to do?

             A: Yes.

             Q: Are you doing it knowingly and voluntarily?

             A: Yes.

             Q: Did anybody force you to do it?

             A: No.

             Q: Did you consult with your attorney before making
                  this decision?

             A: Yes.

             Q: Did anybody force you to do it?

             A: No.

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             *           *          *              *          *            *

             Q: You’re good. Okay.   Are you sure you want to
                  waive all of your rights to an appeal?

             A: Yes.

             Q: That includes any appeals under Title 18, United
                  States Code, Section 3742, and Title 28,
                  United States Code, Section 2255; do you
                  understand that?

             A: Yes.

             Q: Did your attorney go over those statutes?

             A: Yes.

             Q: Are you asking me to approve this as part of
                  your plea agreement?

             A: Yes.

             *           *          *              *          *      *

             Q: Okay. Going back to that waiver of appeal, do
                  you understand that that also includes any
                  allegation of ineffective assistance of
                  counsel, unless it relates to this waiver or
                  its negotiation; do you understand that?

             A: Yes.

             Q: Do you still want to waive your rights to an
                  appeal?

             A: Yes.

  (Id., pp. 27-32.)      The   Court        also   confirmed that Defendant

  understood that the Court would ultimately decide Defendant’s

  sentence, and that the Guidelines were not binding.             (Id., pp. 17-

  20, 23, 24, 35.)

        On September 8, 2010, the Court had Defendant’s sentencing


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  hearing.         (See transcript, DE #390.)              There were no written

  objections       to   the    Guideline     calculation       set    forth      in    the

  Presentence Report (see DE #390, p. 4); however, the parties argued

  about    whether      Defendant’s     sentence      on   Count     16     should     run

  concurrent or consecutive to the state court sentence he was

  currently serving.          (Id., pp. 5-29.)       The Court sentenced Jackson-

  Bey to imprisonment for 180 months (equal to the 15 years that the

  parties agreed would be a fair sentence in the plea agreement), to

  be served consecutive to Defendant’s state sentences in Lake

  County.     (Id., pp. 35-36.)         Additionally, the Court granted the

  Government’s       motion     to   dismiss       Count   1   of    the    superseding

  indictment.       (DE ##325, 326.)         Judgment was entered on September

  15, 2010.         Jackson-Bey did not file a direct appeal with the

  Seventh Circuit.

          Jackson-Bey filed the instant petition under section 2255 on

  August     23,    2011,     setting      forth    four   major     arguments:        (1)

  Defendant’s       guilty    plea   was    unlawfully     induced     and      not   made

  voluntarily because he did not understand the consequences of the

  plea; (2) his plea was wrongfully coerced because his attorney

  promised Defendant he would not be charged with sex trafficking and

  he would not have to register as a sex offender; (3) his privilege

  against self incrimination was violated; and (4) the prosecution

  wrongfully failed to disclose favorable evidence.                        (See Section

  2255 Mot., DE #402, pp. 5-6.) In response, the Government contends


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  that most of Jackson-Bey’s arguments were waived, and even those

  that can be liberally construed as ineffective assistance of

  counsel, fail on the merits.          (See DE #406, p. 7.)           Jackson-Bey

  filed a reply, and memorandum in support of the reply, on October

  31, 2011 (DE ##407, 408.)        Therefore, this motion is fully briefed

  and ripe for adjudication.



  DISCUSSION

        Habeas corpus relief under 28 U.S.C. section 2255 is reserved

  for "extraordinary situations."          Prewitt v. United States, 83 F.3d

  812, 816 (7th Cir. 1996).        In order to proceed on a habeas corpus

  petition pursuant to 28 U.S.C. section 2255, a federal prisoner

  must show that the district court sentenced him in violation of the

  Constitution or laws of the United States, or that the sentence was

  in excess of the maximum authorized by law, or is otherwise subject

  to collateral attack.      Id.

        A   section   2255   motion   is     neither   a   substitute       for    nor

  recapitulation of a direct appeal.          Id.; Belford v. United States,

  975 F.2d 310, 313 (7th Cir. 1992), overruled on other grounds by

  Castellanos v. United States, 26 F.3d 717 (7th Cir. 1994).                      As a

  result:

               [T]here are three types of issues that a
               section 2255 motion cannot raise: (1) issues
               that were raised on direct appeal, absent a
               showing   of   changed   circumstances;   (2)
               nonconstitutional issues that could have been
               but were not raised on direct appeal; and (3)

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            constitutional issues that were not raised on
            direct appeal, unless the section 2255
            petitioner   demonstrates    cause   for   the
            procedural default as well as actual prejudice
            from the failure to appeal.

 Belford, 975 F.2d at 313.      Additionally, aside from demonstrating

 "cause" and "prejudice" from the failure to raise constitutional

 errors    on   direct   appeal,    a        section   2255   petitioner        may

 alternatively pursue such errors after demonstrating that the

 district court's refusal to consider the claims would lead to a

 fundamental miscarriage of justice.           McCleese v. United States, 75

 F.3d 1174, 1177 (7th Cir. 1996).

       In assessing Defendant's motion, the Court is mindful of the

 well-settled     principle    that,     when     interpreting      a     pro   se

 petitioner's complaint or section 2255 motion, district courts have

 a "special responsibility" to construe such pleadings liberally.

 Donald v. Cook County Sheriff's Dep't, 95 F.3d 548, 555 (7th Cir.

 1996); Estelle v. Gamble, 429 U.S. 97, 106 (1976) (a "pro se

 complaint, 'however inartfully pleaded' must be held to 'less

 stringent standards than formal pleadings drafted by lawyers'")

 (quoting Haines v. Kerner, 404 U.S. 519 (1972)); Brown v. Roe, 279

 F.3d 742, 746 (9th Cir. 2002) ("pro se habeas petitioners are to be

 afforded 'the benefit of any doubt'") (quoting Bretz v. Kelman, 773

 F.2d 1026, 1027 n.1 (9th Cir. 1985)).            In other words:

            The mandated liberal construction afforded to
            pro se pleadings "means that if the court can
            reasonably read the pleadings to state a valid
            claim on which the [petitioner] could prevail,

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            it should do so despite the [petitioner's]
            failure to cite proper legal authority, his
            confusion of various legal theories, his poor
            syntax and sentence construction, or his
            unfamiliarity with pleading requirements."

 Barnett v. Hargett, 174 F.3d 1128, 1133 (10th Cir. 1999) (habeas

 petition from state court conviction) (alterations in original)

 (quoting Hall    v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991)).

 On the other hand, "a district court should not 'assume the role of

 advocate for the pro se litigant' and may 'not rewrite a petition

 to include claims that were never presented.'"               Id.     Here, the

 Court assessed Jackson-Bey’s claims with these guidelines in mind.



 Waiver

       The Seventh Circuit has recognized the validity of plea

 agreement waivers, and will enforce the waiver unless there is a

 claim that the waiver was entered into involuntarily, or that the

 waiver was a result of the ineffective assistance of counsel during

 the negotiation of the waiver. In Jones v. United States, 167 F.3d

 1142, 1145 (7th Cir. 1999), the Seventh Circuit held that only two

 claims could be raised on a section 2255 motion by an individual

 who waived his right to appeal:              (1) the defendant received

 ineffective assistance of counsel in negotiating the waiver; or (2)

 that the waiver was not knowingly and voluntarily made.                    Jones

 stated that courts should be:

            [m]indful of the limited reach of this
            holding, we reiterate that waivers are

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            enforceable as a general rule; the right to
            mount a collateral attack pursuant to § 2255
            survives only with respect to those discrete
            claims   which   relate    directly to   the
            negotiation of the waiver.

 Id. at 1145.    In Mason v. United States, 211 F.3d 1065, 1069 (7th

 Cir. 2000), the Seventh Circuit applied its holding in Jones to bar

 an ineffective assistance of counsel claim that related only to the

 petitioner's performance with respect to sentencing.                    The Court

 found that "[b]ecause the challenge has nothing to do with the

 issue of a deficient negotiation of the waiver, [petitioner] has

 waived    his   right   to     seek    post-conviction           relief."       Id.

 Additionally, the Court stated that the following analysis should

 be considered in determining whether a claim has been waived:

            can the petitioner establish that the waiver
            was not knowingly or voluntarily made, and/or
            can he demonstrate ineffective assistance of
            counsel with respect to the negotiation of the
            waiver?

 Id.

       It is undisputed that in his plea agreement, Jackson-Bey

 waived his right to appeal or contest his conviction and sentence

 “to any Court on any ground, including any claim of ineffective

 assistance of counsel unless the claimed ineffective assistance of

 counsel   relates   directly    to     this   waiver    or   its    negotiation,

 including any appeal under . . . Title 28, United States Code,

 Section   2255.”     (Plea   Agreement,       DE   #273,     ¶    7(e).)      Thus,

 Defendant’s claims of a “coerced confess[ion],” violation of the


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 privilege     against   self-incrimination,          and     failure        of   the

 prosecution to disclose certain evidence (DE #402, p. 5), are

 waived.



 Ineffective Assistance of Counsel

        Defendant’s first main argument is as follows:

              Conviction obtained by plea of guilty which was
              unlawfully induced or made voluntarily or without
              understanding of the nature of the charge and the
              consequences of the plea.      I was told by my
              attorney that both my conspiracy count and single
              count held the same time and in order for me not to
              be sentenced to a minimum of 30 yrs if found
              convicted that I should plead to count 16 because
              as the count is written the alleged victim was not
              a minor.

 (2255 Mot., DE #402, p. 4.) In an attempt to construe Petitioner’s

 section 2255 motion liberally, as this Court must, the Court will

 interpret Jackson-Bey’s claim to be that he did not enter into the

 plea    agreement   knowingly   or     voluntarily      because     he      received

 ineffective assistance of counsel.

        Claims of ineffective assistance of counsel are governed by

 the 2-pronged test set forth in Strickland v. Washington, 466 U.S.

 668 (1984).     To prevail on an ineffective assistance of counsel

 claim, the Defendant must first show the specific acts or omissions

 of     his   attorney   "fell    below      an   objective         standard       of

 reasonableness" and were "outside the wide range of professionally

 competent assistance."      Barker v. United States, 7 F.3d 629, 633

 (7th Cir. 1993) (quoting Strickland, 466 U.S. at 688, 690); see

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 also Hardamon v. United States, 319 F.3d 943, 948 (7th Cir. 2003);

 Anderson v. Sternes, 243 F.3d 1049, 1057 (7th Cir. 2001).                     The

 second Strickland prong requires the Defendant to show prejudice,

 which entails showing by "a reasonable probability that, but for

 counsel's unprofessional errors, the result of the proceeding would

 have been different."      Strickland, 466 U.S. at 694.

       Regarding the deficient-performance prong, great deference is

 given to counsel's performance and the defendant has a heavy burden

 to   overcome    the   strong    presumption    of    effective   performance.

 Strickland, 466 U.S. at 690; Coleman v. United States, 318 F.3d

 754, 758 (7th Cir. 2003) (citation omitted).                   Defendant must

 establish specific acts or admissions to fall below professional

 norms.       Strickland, 466 U.S. at 690.              If one prong is not

 satisfied, it is unnecessary to reach the merits of the second

 prong.      Id. at 697.

       The    Seventh   Circuit    has   held   that    “[o]nly    those   habeas

 petitioners who can prove under Strickland that they have been

 denied a fair trial by the gross incompetence of their attorneys

 will be granted the writ.”        Canaan v. McBride, 395 F.3d 376, 385-86

 (7th Cir. 2005).       Additionally, trial counsel “is entitled to a

 ‘strong presumption’ that his performance fell ‘within the range of

 reasonable professional assistance’ and will not be judged with the

 benefit of hindsight.’”         Almonacid v. United States, 476 F.3d 518,

 521 (7th Cir. 2007) (citing Strickland, 466 U.S. at 689).


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       Jackson-Bey     contends    that     it    was   improper       for       the    plea

 agreement and Count 16 of the superseding indictment not to mention

 “a minor or under age of 14 years,” and that his trial counsel

 incorrectly advised him to plead guilty “for a crime that did not

 exist.”     (2255 Reply, DE #408, pp. 2-3.)             Defendant has confused

 the   elements   of   the    charge   in      Count    16.       Count    16     of    the

 superseding indictment alleged:

             Between on or about October 1, 2007 and on or about
             May 31, 2008, in the Northern District of Indiana
             and elsewhere, [Defendant and his co-defendants]
             did   knowingly,   in  and   affecting   interstate
             commerce, recruit, entice, harbor, transport,
             provide and obtain by any means L.G., knowing that
             force, fraud and coercion would be used to cause
             L.G. to engage in a commercial sex act.

 This is consistent with the statute that requires the Government to

 prove either that the victim was a minor or that Defendant knew

 that force, fraud, or coercion would be used to cause the victim to

 engage in a commercial sex act:

             Whoever knowingly – (1) in or affecting interstate
             or foreign commerce, recruits, entices, harbors,
             transports, provides, obtains, or maintains by any
             means a person . . .       knowing or in reckless
             disregard of the fact, that means of force, threats
             of force, fraud, coercion described in subsection
             (e)(2), or any combination of such means will be
             used to cause the person to engage in a commercial
             sex act, or that the person has not attained the
             age of 18 years and will be caused to engage in a
             commercial sex act, shall be punished . . . .

 18 U.S.C. § 1591(a) (emphasis added).

       Thus, the fact that L.G., the victim, was an adult at the time

 Defendant    committed      the   offense       set    forth     in    Count      16    is

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 irrelevant, and it certainly does not render it a “crime that did

 not exist,” as argued by Defendant.            (DE #408, p. 3.)        Moreover,

 this Court specifically advised Defendant during his change of plea

 hearing of the essential elements of the offense:

             [I]n other words, what the government would have to
             prove at trial beyond a reasonable doubt, are:
             First, that you knowingly; second, in or affecting
             interstate commerce; third, recruited enticed,
             harbored, transported, provided, or obtained by any
             means the person named in the superseding
             indictment; fourth, knowing that force, fraud, or
             coercion would be used to cause the person to
             engage in a commercial sex act; and, fifth, that
             the offense was affected by means of force, fraud,
             or coercion.

 (DE #384, p. 38.)      Therefore, there was nothing deficient in Mr.

 Bosch’s performance.        Jackson-Bey’s argument that Mr. Bosch gave

 ineffective    assistance     of   counsel    when   he   told    Defendant      he

 “wouldnt be charged with sex trafficking children” fails.                       The

 charge in the superseding indictment, and the one discussed in the

 plea agreement and at the change of plea hearing, all contained the

 same   accurate     information    (which    mimicked     counsel’s        advice),

 advising Jackson-Bey that he was pleading guilty to sex trafficking

 by means of force, fraud, and coercion.                   Under 18 U.S.C. §

 1591(a)(1), the Government did not have to prove that the victim

 was under 14 years of age, and Defendant was never charged with

 that offense.

        Jackson-Bey argues he has suffered prejudice because state

 officials     and   other   prisoners       have   “dub[bed]     him       as   ‘sex


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 trafficking of a child’” (DE #408, p. 3), and that he may have to

 register as a sex offender (DE #402, p. 5).                   Even assuming,

 arguendo, that these facts alleged by Jackson-Bey are true, they

 are entirely unrelated to his trial counsel’s effective performance

 in accurately advising Defendant that he was charged in Count 16 of

 the superseding indictment with sex trafficking by means of force,

 fraud, and coercion, and pled guilty to that count.                  Moreover,

 during his change of plea hearing, this Court asked Defendant

 “[h]as anyone, including your own lawyer, any lawyer for the

 government, any government agent, or anyone else made any other or

 different promise or assurance to you of any kind in an effort to

 induce or cause you to enter a plea of guilty in this case?” and

 Defendant answered, “[n]o.”      (DE #384, p. 33.)

       It is unclear from Defendant’s section 2255 motion, but he may

 also be arguing that Mr. Bosch was ineffective because he allowed

 Defendant to plea to Count 16, instead of reaching a plea agreement

 on Count 1 (the conspiracy charge under 18 U.S.C. § 371, which

 carried a statutory maximum sentence of 5 years).            However, as the

 Government points out, a prosecutor has no obligation to offer a

 defendant any plea agreement, much less an agreement with or

 without particular terms.       See United States v. Brookshire, No.

 1:07-CR-92-TLS, 2011 WL 2447714, at *5 (N.D. Ind. June 15, 2011)

 (citing United States v. Hall, 212 F.3d 1016, 1022 (7th Cir. 2000)

 (“the successful negotiation of a plea agreement involves factors


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 beyond the control of counsel, including . . . the cooperation of

 the   prosecutor    who   has    no     obligation      to    offer       such   an

 agreement.”)).     The Court in Brookshire held that “[b]ecause there

 is no evidence that the prosecutor would have offered a conditional

 plea, the Defendant cannot show that his counsel was ineffective

 for failing to secure such a deal.           Counsel cannot be faulted for

 failing to achieve the impossible.” Brookshire, 2011 WL 244714, at

 *5.    Similarly, there is no evidence in this case that the

 prosecutor was willing to offer a plea on Count 1.             Therefore, Mr.

 Bosch cannot be deemed ineffective merely because he obtained a

 plea on Count 16 instead of Count 1.             See, e.g., Tanner v. United

 States, Nos. 2:09-CV085, 2:04-CR-80, 2010 WL 148312, at *4 (N.D.

 Ind. Jan. 12, 2010) (“The mere allegation that counsel failed to

 secure a better plea agreement does not, without more, indicate

 deficient counsel.”).     As such, Defendant has failed to show that

 his trial counsel’s actions were objectively unreasonable under

 Strickland, or that Defendant suffered any prejudice due to his

 counsel’s performance.

       Additionally, although Defendant does not argue that his

 counsel   performed   ineffectively         at   sentencing   when    the     Court

 decided that Defendant’s sentence would be served consecutive to

 the state sentence, the Court notes that this type of argument

 would also be waived.     See, e.g., Bridgeman v. United States, 229

 F.3d 589, 593 (7th Cir. 2000) (stating ineffective assistance of


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 counsel claims that relate to anything other than plea negotiation,

 for example, those related to counsel’s performance at sentencing,

 are barred by an enforceable waiver).

       Finally, this Court is satisfied that Defendant knowingly and

 intelligently waived his right to seek post-conviction relief.

 See, e.g., United States v. Davis, 348 F. Supp. 2d 964, 966 (N.D.

 Ind. 2004) (finding a similar section 2255 waiver sufficient,

 ruling defendant knowingly and intelligently waived his right to

 file a section 2255 motion.)           To the extent that Defendant now

 argues that his “attorney [] talk[ed] [him] into signing the plea

 agreement,” (DE #402, p. 5), “[s]elf-serving statements offered

 after the plea hearing generally fall in the face of contradictory

 voluntary statements made by the defendant during a plea hearing -

 the latter are presumed to be true.”             United States v. Mosley, 35

 F.3d 569, 1994 WL 503016, at *3 (7th Cir. Sept. 14, 1994) (citing,

 inter alia, United States v. Scott, 929 F.2d 313, 315 (7th Cir.

 1991) (“To allow [defendant] to withdraw his plea because of secret

 expectations    that   he   harbored        in   the   face   of   his     directly

 contradictory sworn testimony would undermine the strong societal

 interest in the finality of guilty pleas.”)). As set forth by this

 Court earlier in this opinion, Defendant repeatedly testified

 during his hearing that he was satisfied with his counsel’s

 performance, that he was knowingly and voluntarily pleading guilty,

 and that he understood the charges against him and the possible


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 sentence he was facing.      As such, the Court is satisfied that he

 knowingly and intelligently entered into the plea agreement.



 CONCLUSION

       For the aforementioned reasons, Defendant’s section 2255

 motion is DENIED.     The Clerk is ORDERED to DISMISS this case WITH

 PREJUDICE.    The Clerk is FURTHER ORDERED to distribute a copy of

 this order to Haneef Jackson-Bey, #206738, Miami Correctional

 Facility-BH/IN, 3038 West 850 South, Bunker Hill, IN 46914-9810, or

 to such other more current address that may be on file for the

 Petitioner.




 DATED: January 23, 2012                     /s/ RUDY LOZANO, Judge
                                             United States District Court




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